                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

UNITED STATES OF AMERICA                       )
                                               )               Case No. 3:25-MJ-00187-WCM
v.                                             )
                                               )
YOSEF TESFU KAHSAY                             )
______________________________________________ )



                   AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

          I, Courtney Roanhorse,



                                           BACKGROUND

               1. I



                                                           as an HSI SA since September 2019. I am

   a graduate of the Criminal Investigator Training Program and the HSI Special Agent Training

   program at the Federal Law Enforcement Training Center. Before my employment with HSI, I

                                                                                               er from

   July 2015 to September 2019.

          2.      As an agent with HSI, my duties include investigating violations of Titles 8, 18, 19,

   21, 31, and 42 of the United States Code ( U.S.C. ). I received training in various criminal

   investigative techniques, including financial investigations, drug investigations, search warrant

   execution, and other methods related to criminal investigations. I have been trained in the laws and

   regulations related to various federal criminal offenses, including but not limited to narcotics

   smuggling, money laundering, immigration, fraud, and bulk cash smuggling. I have initiated or

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otherwise participated in criminal investigations related to these violations and am familiar with

the methods and techniques used by those committing narcotics smuggling, money laundering,

bulk cash smuggling, immigration violations, and other federal law violations.

       3.      I have initiated, executed, and been involved in investigations resulting in arrests

for narcotics violations, bulk cash smuggling, immigration violations, and firearm offenses. I have

interviewed defendants, witnesses, and informants concerning the illegal trafficking of controlled

substances, bulk cash smuggling, money laundering, and violations of immigration law.

       4.      The information contained in this Affidavit is based on my participation in this

investigation and on information provided to me by other law enforcement officers. Where

statements of individuals are described herein, those descriptions are intended to convey the sum

and substance of such statements and are not exact quotes, unless otherwise indicated.

       5.      This Affidavit is submitted for the limited purpose of presenting facts to support a

probable cause finding for the issuance of a criminal complaint against Yosef Tesfu KAHSAY

for willfully failing to comply with the terms of his release under supervision, in violation of 8

U.S.C. §1253(b). I have not included every fact known to me concerning this investigation, and I

have set forth only those facts necessary for said purpose.

                  FACTS SUPPORTING A PROBABLE CAUSE FINDING

       6.      In June 2025, HSI Charlotte received information that, on or about May 22, 2025,

Mecklenburg County ABC Law Enforcement officers had arrested KAHSAY for larceny and

assault on an officer charges. HSI Charlotte confirmed that KAHSAY was not a United States

citizen but was a citizen of Eritrea, subject to a final order of removal from the United States. At

present, KAHSAY remains in custody on the above-mentioned state charges.

        7.     I know that ICE maintains a file on aliens illegally present in the United States who

ICE encounters. This file, known as an                   -
                                                 2

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the aliens illegally present in the United States, including their photograph, warrants of deportation,

fingerprints, documents reflecting criminal history, documents reflecting the country of citizenship,

and other documents related to the lawful or unlawful status the non-citizen has in the United States.

                                                           -         that contain immigration records and

documentation for an alien when an A-file is not immediately available. Further, there are times

when one or both of the ali                                 Each non-citizen is assigned an identification

number, referred to as an Alien Number.

        8.     In this case, your affiant conducted immigration database searches and reviewed

documentation from the                   T-files to determine that:

             a. His true name is, in fact, Yosef Tesfu Kahsay, as per his immigration documents

                and his admissions to immigration officers.

             b. KAHSAY was assigned A# 212-821-792, FBI number P1ED3PPA7, North



                License Number 43115463 (under the name Yosef Tesfu Kahsay with date of

                birth, July 27, 1998), and FIN Number 1204282485.

             c. KAHSAY is a native and citizen of Eritrea by virtue of birth in Eritrea, and he

                also has a valid Ethiopian passport1 PE0061594.

             d. KAHSAY adjusted to lawful permanent residence on September 25, 2018.

                However, due to his criminal history, ICE placed KAHSAY into removal

                proceedings in 2020. Thereafter, on June 4, 2020, Immigration Judge Audrey M.

                Carr administratively ordered KAHSAY to be removed from the United States to

                Eritrea, and all parties waived their appeal, making this a final order of removal as

                of that date.

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                   T-file shows that he listed that his birthplace as Dekemhare, Eritrea, in 1998, which was before


                                                       3

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       9.      At the time of the removal order in 2020, ICE was unable to execute KAHSAY

final order of removal to Eritrea2 because of problems in that country. While in ICE custody in

2020, KAHSAY filed a habeas corpus petition in the United States District Court, District of

Minnesota (case number 21-cv-350). The parties reached a settlement agreement on March 1, 2021,

in which they stipulated that ICE would release KAHSAY from custody on an order of supervision

under 8 C.F.R. § 241.5.

       10.     On March 1, 2021, ICE released KAHSAY and placed him under an order of

supervision via ICE Form I-220B (Order of Supervision or

KAHSAY of the conditions of his release. On of the conditions of KAHSAY                                    that he

would not commit any crimes. KAHSAY signed the OSUP and acknowledged that he had read and

understood the conditions of his release from ICE custody, including the consequences of failing

to comply, such as criminal prosecution.




11.    On January 18, 2024, ICE had KAHSAY execute another OSUP to reflect his address

change. KAHSAY once again signed this form and acknowledged that not committing crimes

was one of the conditions of his release. KAHSAY has failed to comply with this condition

while on supervised release, as he has committed criminal acts multiple times, some of them


2
       Removal to Eritrea was not able to be completed per Removal and International Operations in 2020.

                                                     4

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after the execution of the January 18, 2024, OSUP.




           12. After reviewing KAHSAY         -files and immigration records and conducting

criminal justice inquiries and database searches, your affiant discovered KAHSAY has had at

least seventeen law enforcement encounters:

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             a.        On or about August 29, 2019, KAHSAY was convicted of

      trespassing and theft in Woodbury County, Iowa, and sentenced to pay fines.

             b.        On or about September 19, 2019, KAHSAY was convicted of

      burglary (motor vehicle) and third-degree credit card fraud in Woodbury County,

      Iowa, and sentenced to 180 days in jail, 150 days suspended (concurrent with

      each other but consecutive to case number AGCR105539), along with other

      sentencing conditions.

                    c. On or about September 20, 2019, KAHSAY was convicted of

                                                       in Woodbury County, Iowa, and

      sentenced to forty-five days in jail, along with other sentencing conditions.

                    d. On or about October 29, 2019, KAHSAY was convicted of theft in

      Woodbury County, Iowa, and sentenced to pay a fine, along with other sentencing

      conditions.

                    e. On or about February 11, 2020, KAHSAY was convicted of

      possession of a controlled substance (methamphetamine) and violating his

      probation for his September 2019 convictions in Woodbury County, Iowa. He

      was sentenced to twenty days in jail, along with other sentencing conditions.

                    f. On or about February 12, 2020, KAHSAY was convicted of theft

      in Woodbury County, Iowa, and sentenced to two days in jail, along with other

      sentencing conditions.

                    g. On or about April 14, 2020, KAHSAY was convicted of receiving

      stolen property in Union County, South Dakota, and sentenced to 180 days in jail,

      with 123 days suspended on the condition that he pay restitution.




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                 h. On or about May 6, 2021, KAHSAY was arrested in Freeborn

      County, Minnesota, for Assault in the 4th Degree. He was convicted on or about

      June 24, 2021, for Assault in the 5th Degree and sentenced to ninety days in jail.

                 i. On or about July 5, 2021, KAHSAY was arrested in Omaha,

      Nebraska, for trespassing. He was arrested again by the Omaha Police Department

      on July 6, 2021, for theft and trespassing. The disposition of these charges is

      unknown.

                 j. On or about October 2, 2021, KAHSAY was arrested in Charlotte,

      North Carolina, for operating a motor vehicle without the                       and

      burglary (motor vehicle). In February 2022, KAHSAY was convicted of operating

      a vehicle without the owner s consent and was sentenced to two years in prison and

      a fine of $855.00. He was also convicted of third-degree burglary (non-vehicle) and

      sentenced to five years in prison, along with a $1,025.00 fine.

                 k. On or about June 4, 2024, KAHSAY was arrested in Charlotte,

      North Carolina, for resisting a public officer and for injury to personal property.

      The                                                     dismissed these charges.

                 l. On or about September 12, 2024, KAHSAY was arrested in

      Charlotte, North Carolina, for resisting a public officer and possession of drug

      paraphernalia. The disposition of these charges is unknown.

                 m. On or about October 10, 2024, KAHSAY was arrested in Charlotte,

      North Carolina, for felony larceny, possession of drug paraphernalia, and felony

      possession of a Schedule II controlled substance. T

      Mecklenburg County dismissed these charges.



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                          n. On or about October 31, 2024, KAHSAY was arrested in Charlotte,

              North Carolina, for breaking and entering a motor vehicle, felony larceny,

              misdemeanor larceny, breaking and entering a motor vehicle with theft, felony

              breaking and/or entering, larceny after breaking and entering, and felony

              conspiracy. T                                                      dismissed these

              charges.

                          o. On or about November 20, 2024, KAHSAY was again arrested in

              Charlotte, North Carolina, for misdemeanor larceny, felony breaking and entering

              a motor vehicle, and felony breaking and entering. T

              in Mecklenburg County dismissed these charges.

                          p. On or about December 24, 2024, KAHSAY was arrested for felony

              breaking and entering in Charlotte, North Carolina. On April 8, 2025, a trial judge

              found KAHSAY guilty of that charge to a lesser degree, and he received a sentence

              of seventy-five days in jail.

                          q. On or about May 6, 2025, KAHSAY was arrested in Charlotte,

              North Carolina, for felony attempted larceny, but this charge was dismissed on June

              10, 2025.

                          r. On or about May 22, 2025, KAHSAY was arrested in Charlotte,

              North Carolina, for misdemeanor larceny, assault on a government official,

              carrying a concealed weapon, resisting a public officer, and injury to personal

              property. These charges are pending.

       13.    On June 17, 2025, after reviewing              A-file and checking immigration

indices, your affiant was unable to locate any record that KAHSAY had applied for, or was



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granted, permission by the Attorney General of the United States or the Secretary of the

Department of Homeland Security to remain legally in the United States.

       14.      Furthermore, KAHSAY has failed to abide by his Order(s) of Supervision and

committed criminal acts on numerous occasions, most recently on May 22, 2025, in

Mecklenburg County.

                                          CONCLUSION

        15.     Based on the above information, your affiant respectfully requests the issuance of

a criminal complaint against Yosef Tesfu KAHSAY for violating Title 8, United States Code,

Section 1253(b)(1)(willful failure to comply with the terms of his release under supervision).

        AUSA Kenneth M. Smith reviewed this Affidavit.

                                                       RESPECTFULLY SUBMITTED,

                                                       /s/Courtney Roanhorse
                                                       ____________________________
                                                       Special Agent Courtney Roanhorse
                                                       Homeland Security Investigations


             In accordance with Rule 4.1(b)(2)(A), the Affiant attested under oath to the contents of
             this Affidavit, which was submitted to me by reliable electronic means, on this 11th
             day of July, 2025, at 4:01 PM.




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